FUNC e Ree Cue eee

Debtor 4 Scan Ke. Sace €+t.

First Narin Middle Namo Las Nama EM am
ch ote
Q checks is an amended
plan, and list below the
sections of the plan that have
been changed.

Debtor 2
(Spouse, if filing) Fitet Nama Middla Name Last Nama

United States Bankruptcy Court for the: District of
(State)

Case number
{H known}

Official Form 113
Chapter 713 Plan 4127

eta i Notices

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
indicate that the option is appropriate in your circumstances or that it is permissible fn your judielal district, Plans that
do not comply with focal rules and judicial rulings may not be confirmable.

in the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this plan carefully and discuss it with your allorney if you have one In this bankruptcy case. If yau do not
have an alforney, you may wish to consult one,

If you oppose the plan's treatment of your clalm or any provision of this plan, you or your attorney must file an objection to
confinnation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed, See
Bankruptey Rule 3075. In addition, you may need to file a timely proof of claim In order to be paid under any plan.

The following matters may be of particular importance. Debfors must check one box on each line to state whether or not the plan
includes each of the following items. if an item is checked as “Not included” or if both boxes are checked, the provision will
be Ineffective if set out later In the plan.

4.4 | Alimit on the amount of a secured claim, set out in Section 3.2, which may result in @ partlat E] included | GI Not included
payment or no payment at all to the secured creditor

4.2 | Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Cl included | ) Not inctuded
Section 3.4

4.3 | Nonstandard provisions, set out in Part & Ol included | C4 Not included

Plan Payments and Length of Pian

24 Debtor(s) will make regular payments to the trustee as follows:

$e per for months

fand § par. for months,] insert additional tines if needed.

If fewer than 60 months of payments are specifled, additional monthly payments will be made to the extent necessary to make the
payments to credifors specified in this plan.

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Debtor Tra wk “Kax cet Case number

2.2 Regular payments io the trustee will be made from future income In the fallowing manner:
Check ail that apply.
QO Debtor(s) will make payments pursuant fo a payroll deduction order.
C1 pebtor(s) will make payments directly to the trustee.
Ci Other (specify method of payment):

2.2 Income tax refunds.
Check one.
L} Debtor(s) will retaln any Income tax refunds recelved during the plan term.

LJ Debtor(s) will supply the trustee with a copy of each income lax return filed during the plan tem within 14 days of fillng the return and will
ium over to the trustee all income tax refunds recelved during the plan term.

a Debtor(s) will treat Income tax refunds as follows:

24 Additional payments.
Check one.
CI None. /f ‘Wvone" is checked, the rest of § 2.4 need not be completed or reproduced,

QO) Debtor(s) wil make additional payment(s} fo the trustee from other sources, as specifled below. Describe the source, estimated amount,
and date of each anticipated payment.

2.6 The total amount of estimated paymants to the trustee provided for in §§ 2.1 and 2.4 is $

Treatment of Secured Claims

3.14. Maintenance of paymants and cure of default, lf any.
Ghecok one.
LJ Nene. if None" s chacked, the rest of § 3.1 need nof be completed or reproduced.

Q) The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
the applicable contract and noticed In conformity with any applicable rules. These payments will be disbursed elther by the trustee or
direcity by the debtor(s}, as specified below. Any existing arrearage on a listed claim will be paid in full {hrough disbursements by the
trustee, with interest, if any, at the rate stated. Unless otharwise orderad by the court, the amounts listed on a proot of claim filed before the
filing deadline under Bankruptcy Rule 3002(c) control over any cantrary amounts ilsted below as to the current installment payment and
arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic slay
fs ordered as fo any item of collateral sted In {his paragraph, then, unless olherwise ordered by the cour, ail payments under this
paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
column includes only payments disbursed by the trustee rather than by the debtor(s}.

‘Name of oreditor. =.) “Gellateral_.- - Current Installment "Amount ef" Interest rate on: Monthly plan. .°-Estimated total -

Je Spayment oo arrearage (if 00 arrearage oc payment on oo payments by.
coo fineluding escrow ) any) 0 {iappiicable) arrearage 20-0 -teustee) 3:
$. $ % $ $
Disbursed by:
QQ Trustee

CY} Debtor(s)

$ $ % $ $
Disbursed by:
(3 trustee
C2 Debtor(s)

insert additional claims as needed.

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Debtor Tone. “Kos X ett Case number

3.2 Request for vatuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

C4 None. if None" is checked, the rest of § 3.2 need not be completed or reproduced.
The remainder of this paragraph will be affactive only if the applicable box in Part 1 of this pian is checked.

4 The debtor(s) requast that the courl determine the value of fhe secured claims listad belaw, For aach non-gavemnmantal secured claim
listed balow, the debtor(s} state that the value of the secured clalm should be as set out in the column headed Amount of secured
claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured ciaim ilsted in a proof of
claim filed in accordance with the Bankruptcy Rules controls over any contrary arnount listed below. For each isted claim, the value of
the secured claim will be pald in full with Interest at the rate stated below.

Tha portion of any allowed claim that exceads the amount of the secured clalm will be treated as an unsecured claim under Part § of this
pian. if the amount of a creditor's secured clalm is listed below as having no valua, the creditor's allowed claim will be treated In its entirety
as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditar's total claim listed on the
proof of claim controls over any contrary amounts listed In this paragraph,

The holder of any claim listed below as having value in the column headed Amount of secured claim will retaln the lien on the property Interest
of the debtar(s) or the astate(s) until the earller of:

{a} payment of ihe underlying debt determined undar nonbankruptcy law, or

®) discharge 0 of the underlying debt under 14 U.S.C, § 1328, at which time the tien will terminate and be released by the creditor,

‘Estimated amount. Gollateral oS Value of “Amount. of. Amount of: -nterest ‘Monthly © ~ Batimated total

gf ‘creditor's total Pore ~ gallateral claims senior to. secured clei Tate payment! to. of monthly.

a elalm oo es we no creditor's claim (Oo) eo sc sereditar. ~paymenta
$__. $ $ s_ —_% § $
tS $ $ Fo _% $

insert additional claims as needed.
3.3 Secured claims excluded from 114 U.S.C. § 506.
Gheck one.
C None. if “None” /s checked, the rest of § 3.3 need not be completed or reproduced.

CJ The claims Iisted below were either:

(1) Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
personal use of the debtor{s}, or

(2) Incurred within 1 year of the petition date and secured by a purchase money security Interest in any other thing of value.

These clalms will be paid In full under the plan with interest at the rate stated below. These payrnents will be disbursed elther by the trustee or
directly by the debtor(s)}, as specified below. Unless otherwise ordered by the cour, the claim amount staied on a proof of claim filed before the
fing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
claim, the amounts stated below are controlling. Tha final cotumn includes only payments disbursed by the trustee rather than by the debtor(s).

Nameofcreditor =: Collateral . “Amount ot claim: ‘Interest. Monihly plan OB
ALESIS ASM Ty has OE es . : : 7 : age eo BBY EOE - payments by wustee :
§ % § $.

Disbursed by:

tL] Trustee
CG pebtorfs)

$ % § $
Disbursed by:

C] Trustee
( Debtor(s)

lnsert additional claims as needed.

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3.4 Lien avoidance.

Check one.
CE None. if “None” is checked, the rest of § 3.4 need not be completed or reproduced.
The remainder of this paragraph will ba effective only if the appilcable box in Part 1 of this plan is checked.

(J The Judicial lens or nonpossessory, nonpurchase money security Interests securing the claims listed below Impalr exemptlons to which the
debtor(s} would have been entitled under 11 U.S.C. § 522(b), Unless otherwise ordared by the court, a judicial fen or security Interest
securing a claim listed below will be avoided to the extent that it Impalrs such exemptions upon entry of the order confirming the plan. The
amount of the Judicial lien or security interest that is avoided will be treated as an unsecured claim In Part 5 to the extent allowed. The
amount, if any, of tha judicial lien cr security interest that is not avoided will be paid in full as a secured claim under the plan, See 11 U.3.C.
§ 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

-Jnformation regarding judicial |” Calculation of lien avoldance 900 | Treatment of remaining (2
a PS Sag 8 pus “secured claim oo 80

oy stlen or-security Interest ce Pe gaged etal

a. Amount of lien $s :C*dT:Cs Amott of secured claim after
Naine of creditor avoldance {line a minus line f
$
b. Arnaunt of ail othar lens $
Collateral c. Value of claimed exemptions +$ Interest rate (if applicable}
d, Total of adding lines a, b, and c $ %
e Monthiy payment on secured
Lian Identification (such as 6. Value of debtor(s)' interes! In -$ clalm ¥ pay
judgment dale, dale of lien properly
recording, book and page number} $
Estimated total payments on
f, Subtract line ¢ from jing d. $d Ss secured claim

§

Extent of exemption impairment
(Check applicable box}:

(I Line fis equal to or greater than line a,

The entire lien is avoided. (Do nat camplete the next column.)
(1) Line f Is less than line a,

A portion of the Hen Is avolded. (Complete the next cofumn.)

insert additional claims as needed.

3.5 Surrender of collateral,
Check one. :
C] None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.

LJ The debtor{s) elect to surrender to each creditor listed below the collateral that securas the creditor's claim, The debtor(s) request dhat
upon confirmation of this plan the stay under 11 U.S.C. § 362(a} be terminated as to the collateral only and that the stay under § 1304
be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the callateral will be treated in Part & below.

“Nameofcreditor © 0 SS Gottateral ©)

insert additional claims ag needed.

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won Aon “Bacce tt

Treatment of Fees and Priority Claims

Case number

41 General

Trustee's fees and all allowed priority clalms, Including domestle support obligations other than those treated in § 4.6, will be pald in full without
postpatition interest,

4.2 Trustee's fees

Trustee’s toes are governed by statute and may change during the course of the case but are estimated to bess % of plan payments; and
during the plan term, they ara estimated io total §

4.3 Attorney's fees

The balance of the fees owed fo the attorney for the deblor(s) is estimated to be $

4.4 Priority clalms other than attorney's fees and those treated in § 4,5.
Cheek one.

() None. if “None” is checked, the rest of § 4.4 need not be campleted or reproduced,

(1 ‘the debtor{s) estimate the total amount of other priority claims ta be

4.5 Domestic support abligations assigned or owed to a governmental unit and paid jess than full amount.
Check one.

(J None. If "Nene" is checked, the rest of § 4.5 need not be completed or reproduced.

{J The allowed priority claims listed below are based on a domestic support obligation that has bean assigned to or is owed lo a
governmental unit and will be paid fess than the full amount of the claim under 11 U.S.C. § 1322{a)(4), This plan provision
requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a}(4).

“Name otciedtor

“Amount of claim tobe paid

$

Insert additional claims as needed.

: Treatment of Nonprtority Unsecured Claims

&.4 Nonprisrity unsecured claims not separately classified,

Allowed nonpriorily unsecured claims that are no{ separately classified will be paid, pro rata. If more than one option [s checked, the option
providing the fargest payment will be effective. Cheek all that apply.

() The sum of $

) % of the total amount of these claims, an estimated payment of $

{) The funds ramaining after disbursements have been made to all other creditors provided for in this plan.

if he estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be pald approximately $
Regardless of the aptions checked above, payments on allowed nonpriority unsecured claims will be made in at ieast this amount.

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Debtor x OM Ke Koc C ett Case number

6.2 Maintenance of payments and eure of any default on nonpriority unsecured claims. Chack one.
CI) None. ff None" is checked, the rest of § 5.2 nead not be completed or reproduced.

(al The debter(s} will maintain the contractual installment payments and cure any default in payments on (he unsecured claims listed below
on which the last payment is due after the final plan payment, Thase payments will be disbursed either by the trustee or directly by the
debtar(s), as specified below, The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
The final column includes only payments disbursed by the trustee rather than by ihe debtor(s).

“Name ofereditor. 0 “Current installment... Amount of arrearage ~ Estimated total <-
DUP SPD ype esis (hoa a  payenent Soo fe be paid oo payments bye oo
$ $ $
Disbursed by:
C Trustee

LI Debtar(s}

$ $ $.

Disbursed by:
() Trustee
U1] Debtor(s)

fnsert additional clalms as needed.

5.3 Other separately classified nonpriority unsecured clalms. Cheek one.
(] None. if “None” is checked, the rest of § 5.3 need not be completed or reproduced.

(] The nonpriority unsecured allowed clalms listed below are separately classified and will be eated as follows

Name of creditor Seles “oo: Basis for separate classification Amount to be pald “Anterest rate -- ‘Egtimated total .
Myyrhs CUsrg eta a ua and treatment ~. oe - en fhe claim 0 {if applicable} *. amount of 2.
$ % $
§. te $e

inser additional claims as needed.

: Executory Contracts and Unexpired Leases

6.4 The executory contracts and unexplred leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected. Check ane,

(ad None, if “Nene” is checked, the rest of § 6.1 need nof be completed or reproduced.

L) Assumed Items. Current instatiment payreents will be disbursed elther by the trustee or directly by the debtor(s}, as specified below, subject
to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final colurnn includes only payments disbursed
by the trustee rather than by the debtor(s).

|
|

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nebior rank Kae ¢ ett

‘Name of creditor ae oe Description of leased Current installment :

wy Soe vs property or executory payment. 000
Bo ss contract o Os

$
Disbursed by:
QO Trustee

O Debtor(s)

$
Disbursed by:
Q Trustee

Q Debtor(s)

insert additional contracts or leases as needed.

= Vesting of Property of the Estate

Case number

Aniount of ©” ‘Treatment of arrearage | ° Estimated total

“arreatage to 0 payments by
noose oyRefer to other plano qrustag ooo
be pal. ~ “section if applicable) °°: ruateg oo:
+ $
$ $

7.1 Proparty of the estate will vest in the debtor(s) upon
Gheck the appiicable box:

(J plan confirmation.
C1 entry of discharge.
CE other:

Nonstandard Pian Previsions

8.4 Check “None” or List Nonstandard Plan Provisions

(3 None. if “None” is checked, fhe rest of Part 8 need nat be completed or reproduced.

Under Bankruptcy Rule 3018(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or daviaiing from it, Nenstandard provisions set out elsewhere in this pian are ineffective.

The folfowing plan provisions will be effective oniy if there is a check in the box “lacluded” in § 1.3.

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en een Baccett
EEE sore:

Case numbet

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

if the Deblor(s) do not have an atiorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.

Sigrjature of Débtor 1 Signature of Debtor 2
“
Exaltuied on { BS Gags Executed on
MM / DD /YYY¥YY MM / DD /¥YYY
x Date

Signature of Attorney for Debtor(s) MM / DD /YYYY

By filing this document, the Debtor(s), if nat represented by an attorney, or the Attornay for Dabtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter 43 plan ara identical to
those contained In Official Form 113, other than any nonstandard provisions Included in Part 3.

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rant Bact th

Exhibit: Tota! Amount of Estimated Trustee Payments

The following are the estimated payments that ihe plan requires the trustee to disburse. if there is any difference batween the amounts set
out below and the actual plan terms, the plan terms contral.

a. Maintenance and cure payments an secured claims (Part 3, Section 3.7 totals $
b. Modified secured claims (Part 3, Section 3.2 total $
c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 totah $
d. Judicial lens or security interests partially avaided (Part 3, Section 3.4 tote} $
6. Fees and priority claims (Part 4 tofah $
f. Nonpriority unsecured claims (Part 5, Section &.1, highest stated amount $e
g. Maintenance and cure payments on unsecurad claims (Part 5, Section 5.2 total $
h. Separately classified unsecured claims (Part 5, Section 6.3 tala} $
1. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total) $ —_
|. Nonstandard payments (Part &, iotal) + §
Total of lines a through j $
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